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                UNITED STATES COURT OF INTERNATIONAL TRADE
                BEFORE THE HONORABLE TIMOTHY M. REIF, JUDGE


 DIAMOND TOOLS TECHNOLOGY
 (THAILAND) LTD.,

                  Plaintiff,
 v.
                                                        Court No. 19-00143
 UNITED STATES,

                  Defendant,

 and

 DIAMOND SAWBLADES
 MANUFACTURERS’ COALITION,

                   Defendant-Intervenor.


                                   JOINT STATUS REPORT

       The parties in the above-captioned action have consulted, and hereby submit the

following Joint Status Report.

       On January 30, 2020, the Court issued its Order staying this action. ECF 25. On March

11, 2020, the Court issued its Order further staying this action until a final decision is issued in a

judicial appeal of Case 7184 under the Enforce and Protect Act (“EAPA”), instructing the parties

to file a Joint Status Report with the Court no later than seven days after the parties have

exhausted any opportunity to appeal further EAPA Case 7184. See ECF 27.

       On July 28, 2023, the Court entered a judgment sustaining the March 16, 2023 remand

results of U.S. Customs and Border Protection (“CBP”) in EAPA Case 7184. Judgment, Slip

Op. 23-111, July 28, 2023. No party filed a notice of appeal of the Court’s July 28, 2023

judgement, such that parties have exhausted any opportunity to appeal EAPA Case 7184.
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       As stated by Plaintiff Diamond Tools Technology (Thailand) Ltd. (“DTT”) in its Consent

Motion to Stay, if CBP agreed with DTT that imports of diamond sawblades prior to December

1, 2017 had not evaded the antidumping duty order on diamond sawblades and parts thereof from

China, this could eliminate DTT’s interest in pursuing this action. ECF 24 at 5. In the remand

results, CBP found that DTT “did not engage in evasion when it entered diamond sawblades

assembled in Thailand with Chinese components into the United States without declaring such

merchandise as subject to the AD Order.” Slip Op. 23-111 at 3.

       Consequently, DTT intends to withdraw this action. Rule 41(a)(1)(A)(ii) of the Rules of

this Court states that “the plaintiff may discuss an action without court order by filing . . . a

stipulation of dismissal signed by all parties who have appeared.” The parties are therefore filing

a stipulation of dismissal with respect to this action under separate docket entry.

                                              Respectfully submitted,


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Date: October 10, 2023




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